

People ex rel. Bazile v Toulon (2024 NY Slip Op 05302)





People ex rel. Bazile v Toulon


2024 NY Slip Op 05302


Decided on October 25, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 25, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
DEBORAH A. DOWLING
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2024-10638

[*1]The People of the State of New York, ex rel. Pierre Bazile, on behalf of Josef McLorrain, petitioner,
vErrol D. Toulon, Jr., etc., et al., respondents.


Cassar Law Firm, P.C., Huntington, NY (Pierre Bazile pro se of counsel), for petitioner.
Raymond A. Tierney, District Attorney, Riverhead, NY (Danielle Sciarretta and Jamie H. Greenwood of counsel), for respondents.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Josef McLorrain upon his own recognizance or, in the alternative, to set reasonable bail upon Suffolk County Indictment No. 72194/2024.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Suffolk County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
DILLON, J.P., DOWLING, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








